      Case 2:10-cr-00062-FVS      ECF No. 44   filed 12/07/10   PageID.103 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

 4

 5
     UNITED STATES OF AMERICA,
                                                          No. CR-10-0062-FVS-1
 6
                          Plaintiff,

 7
                                                          ORDER DISMISSING INDICTMENT
                  v.
 8

 9
     ANTONIO RAUL AYALA,

10
                          Defendant.

11

12           THE PARTIES having entered into a plea agreement in CR-10-063-FVS

13   (Ct. Rec. 20); the Court having accepted Defendant’s plea of guilty in

14   that case; and the Government having made an oral motion to dismiss

15   the indictment in this case; Now therefore,

16           IT IS HEREBY ORDERED:

17           The indictment in this case (Ct. Rec. 1) is DISMISSED with

18   prejudice.

19           IT IS SO ORDERED.      The District Court Executive is hereby

20   directed to enter this order, furnish copies to counsel and CLOSE THE

21   FILE.

22           DATED this     7th      day of December, 2010.

23
                                    S/Fred Van Sickle
24                                    Fred Van Sickle
                            Senior United States District Judge
25

26



     ORDER DISMISSING INDICTMENT - 1
